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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA,

                             Plaintiff,

   v.                                                   CASE NO: 21-20005-CR-GAYLES

   ALBERICO AHIAS CRESPO, et al.

                     Defendant.
   ______________________________/

             DEFENDANT CRESPO’S OBJECTIONS TO PRESENTENCE REPORT

           Defendant, ALBERICO AHIAS CRESPO (“Mr. Crespo”), through undersigned counsel,

   hereby files his objections to the Presentence Report (“PSR”), and in support alleges as follows:

                                              I.       PSR OBJECTIONS

           Mr. Crespo objects to the following factual content and legal conclusions in the PSR:

           A. Objections Not Affecting the Guidelines Range

           ¶ 9: Paragraph 9 states that “Diaz and Lorenzo were in a relationship together and lived in

   an efficiency unit at the residence of SA Crespo …” This statement is incorrect. Lorenzo at no

   time lived in the efficiency unit at the residence of SA Crespo. Thus, her name should be deleted.

           ¶ 10(a): Paragraph 10(a) asserts that SA Crespo “knew” of the planned arrest of [Dr.]

   Gonzalez. However, the evidence adduced at trial revealed that a doctor, whose name was not

   disclosed in the documents sent out, was going to be arrested on February 7, 2019. The email that

   went out to the agents did not include Dr. Gonzalez’s name, nor did anyone inform SA Crespo that

   the doctor to be arrested was Dr. Gonzalez. Accordingly, this paragraph must be corrected.




                                                            1
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             ¶ 10(b): Likewise, Paragraph 10(b) must be corrected for the same reasons as ¶ 10(a). That

   is, neither the email that went out to the agents, nor the testimony at trial, revealed that Dr.

   Gonzalez’s office was the office to be searched. All that was known to SA Crespo, as well as to

   many other agents at that time, was that a medical office was going to be searched – but no

   information was provided identifying the individual doctor or doctors associated with those

   premises. Therefore, this paragraph must be corrected to delete that SA Crespo “knew” that Dr.

   Gonzalez’s medical office was going to be searched on February 7, 2019.

             ¶ 13: This paragraph in the PSR states that “the initial patient interviews revealed that Diaz

   had been warned of these interviews, which led to Diaz telling the patients to be calm and that SA

   Crespo confirmed that law enforcement would not return to conduct additional interviews.” The

   evidence adduced at trial refutes this assertion. In fact, Diaz testified at trial that he said these

   things to the patients to calm them and that way they would not sell their pills to someone else.

             B. Objections Affecting the Guidelines Range

             ¶ 34: Paragraph ¶ 34 attributes 1,802 kilograms of converted drug weight to Mr. Crespo

   under the Sentencing Guidelines, which puts him at Base Offense Level 24. That calculation is

   incorrect. We submit that, for the reasons stated below, the amount of converted drug weight

   properly attributable to Mr. Crespo is substantially less. Therefore, we object.

             (1) Probation’s Methodology to Compute the Base Offense Level

             Our analysis begins by examining how Probation arrived at attributing 1,802 kilograms of

   converted drug weight to Mr. Crespo.1 Probation held Mr. Crespo responsible for Oxycodone pills



   1
       We first thank the Probation Officer, who, in response to an email from the undersigned (with copy to
   AUSA Sean McLaughlin), graciously provided a succinct and clear explanation of the methodology she
   used to arrive at the 1,802 kilograms. A copy of that email is incorporated hereto as Exhibit “1.”

                                                            2
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   prescribed during the conspiracy to the six patients mentioned in the Indictment (at ¶ 15) –

   specifically, patients M.P., A.A., P.R., B.R., M.C., and L.A. Probation’s methodology to arrive at

   converted drug weight is explained in Exhibit “1,” as follows:

           By multiplying the number of pills prescribed to each patient times 30 mg (the weight of

   Oxycodone in each pill) to arrive at the total amount Oxycodone milligrams. Thereafter, the total

   number of milligrams was divided by one thousand to obtain the total number of grams. So, the

   total number of Oxycodone grams as to the six patients in the Indictment was reported as follows:

      •    Patient M.P – Oxycodone 30 mg. from Dr. Gonzalez 13.5 grams, and from Dr. Carpman
           73.53 grams.
      •    Patient A.A. – Oxycodone 30 mg. from Dr. Gonzalez 69.9 grams, and from Dr. Carpman
           94.5 grams.
      •    Patient P.R. – Oxycodone 30 mg. from Dr. Gonzalez 68.4 grams, and from Dr. Carpman
           94.5 grams.
      •    Patient B.R. – Oxycodone 30 mg. from Dr. Gonzalez 0 grams (no prescriptions), and from
           Dr. Carpman 32.46 grams.
      •    Patient M.C. – Oxycodone 30 mg. from Dr. Gonzalez 58.5 grams, and from Dr. Carpman
           69.3 grams.
      •    Patient L.A. – Oxycodone 30 mg. from Dr. Gonzalez 58.8 grams, and from Dr. Carpman
           75.6 grams.

   The total number of grams for all six patients came out to 269.1 grams. And pursuant to the

   Sentencing Guidelines Drug Conversion Tables, Schedule I or II Opiates (see § 2D1.1, cmt. n. 8),

   the 269.1 grams was multiplied by 6700 grams, and then divided by 1,000 to get the total kilograms

   of converted drug weight. Accordingly, in this case: 269.1 x 6700 = 1,802.97 kilograms of

   converted drug weight.

           Importantly, when Probation performed the Guidelines calculations, it was not familiar

   with the trial evidence and relied exclusively on information provided by the Government.

   However, the Government provided incomplete information. In fact, Probation’s email to the

   undersigned, with copy to AUSA McLaughlin, contained two important disclaimers: (1) Probation

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   had “no knowledge that any part of the conspiracy was unknown or not reasonably known by the

   defendant;” and (2) Probation had no knowledge if Crespo “enter[ed] the conspiracy in this case

   at a later time than his co-defendants.” See Exhibit 1 at 2. These two factors, which the Government

   did not bring up with Probation, carry great weight in correctly calculating the Guidelines in this

   case. But Probation is not to blame, because its calculations relied solely on the factual background

   provided by the Government. If the information relating to these two factors had been timely and

   correctly provided to Probation, the Base Offense Level attributable to Mr. Crespo would have

   been significantly lower, as we will explain below.

           (2) The Sentencing Guidelines Provisions that Control

           Section 1B1.3 of the Sentencing Guidelines sets forth the rules that must be followed to

   calculate the applicable Guideline Range. As relevant here, this particular provision states as

   follows:

                             § 1B1.3. Relevant Conduct (Factors that Determine the
                                     Guideline Range)

                    (a)     CHAPTERS TWO (OFFENSE CONDUCT) AND THREE
                    (ADJUSTMENTS). Unless otherwise specified, (i) the base offense
                    level where the guideline specifies more than one base offense level,
                    (ii) specific offense characteristics and (iii) cross references in
                    Chapter Two, and (iv) adjustments in Chapter Three, shall be
                    determined on the basis of the following:

           (1)      (A) all acts and omissions committed, aided, abetted, counseled,
                    commanded induced, procured, or willfully caused by the
                    defendant; and

                    (B) in the case of a jointly undertaken criminal activity (a criminal
                    plan, scheme, endeavor, or enterprise undertaken by the defendant
                    in concert with others, whether or not charged as a conspiracy), all
                    acts and omissions of others that were –

                            (i)    within the scope of the jointly undertaken criminal
                    activity,

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                             (ii) in furtherance of that criminal activity, AND

                           (iii) reasonably foreseeable in connection with that
                    criminal activity;

                    that occurred during the commission of the offense of conviction, in
                    preparation for that offense, or in the course of attempting to avoid
                    detection or responsibility for that offense;

           (2)      solely with respect to offenses of a character for which § 3D1.2(d)
                    would require grouping of multiple counts, all acts and omissions
                    described in subdivisions (1)(A) and (1)(B) above that were part of
                    the same course of conduct or common scheme or plan as the
                    offense of conviction;

           (3)      all harm that resulted from the acts and omissions specified in
                    subsections (a)(1) and (a)(2) above, and all harm that was the object
                    of such acts and omissions; and

           (4)      any other information specified in the applicable guideline.

           (Emphasis added.) Mr. Crespo’s case involves a Chapter Two cross reference; thus, it falls

   within the ambit of § 1B1.3(a)(iii). Accordingly, the Court is obligated to follow the criteria set

   forth in this section to determine his Base Offense Level and Guideline Range.

                                  The Application Notes provide a roadmap to
                        correctly apply the § 1B1.3 criteria set forth immediately above:

   First Element – “Within the Scope.” § 1B.3(a)(1)(B)(i) speaks to the scope of a defendant’s

   accountability. In defining the scope of accountability, § 1B.3 cmt. n. 3(B) warns that “the scope

   of the ‘jointly undertaken criminal activity’ is not necessarily the same as the scope of the entire

   conspiracy.” (Emphasis added.) “In order to determine the defendant’s accountability for the

   conduct of others under subsection (a)(1)(B), the court must first determine the scope of the

   criminal activity the particular defendant agreed to jointly undertake (i.e., the scope of the specific

   conduct and objectives embraced by the defendant’s agreement fairly inferred from the conduct of


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   the defendant and others.” (Emphasis added.) See United States v. Kuc, 846 Fed. Appx. 860, 865–

   66 (11th Cir. 2021). And the defendant’s accountability is “limited” by the scope of his or her

   agreement. Id. So that “[a]cts of others that were not within the scope of the defendant’s agreement,

   even if those acts were known or reasonably foreseeable to the defendant, are not relevant conduct

   under subsection (a)(1)(B).” Id. Lastly, the Application Notes state that a defendant cannot be held

   accountable or responsible for “conduct of members of a conspiracy prior to the defendant joining

   the conspiracy, even if the defendant knows of that conduct.” Id. (emphasis added). To summarize,

   the defendant’s accountability is strictly “limited by the scope of his or her agreement to jointly

   undertake the particular criminal activity.” Id.

           Second Element – “in furtherance.” This element found in § 1B.3(a)(1)(B)(ii) requires

   the Court to determine if the conduct of others was in furtherance of the jointly undertaken activity.

           Third Element – “reasonably foreseeable.” § 1B.3(a)(1)(B)(iii) requires the court to

   determine if the conduct of others that was within the scope of, and in furtherance of, the jointly

   undertaken criminal activity was reasonably foreseeable in connection with that criminal activity.

           In conclusion, “The conduct of others that meets all three criteria set forth in subdivisions

   (i) through (iii) (i.e., ‘withing the scope,’ ‘in furtherance,’ and ‘reasonably foreseeable’) is relevant

   conduct under [§ 1.B.3].” However, when the conduct of others does not meet any one of the

   criteria set forth in subdivisions (i) through (iii), the conduct is not relevant conduct under this

   provision.” § 1B.3 cmt. n. 3 (emphasis added).

           (3) Application of § 1B.3 Criteria to this Case

           Mr. Crespo’s case involves a cross reference under Chapter Two and jointly undertaken

   criminal activity, so that § 1B.3 criteria must be obeyed and followed. And as discussed

   immediately above, only conduct that meets all three criteria – that is, the criteria set forth in

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   subdivisions (i) “withing the scope,” (ii) “in furtherance,” and (iii) “reasonably foreseeable” may

   be deemed relevant conduct. However, if any of the three criterions is not satisfied, then it is not

   relevant conduct. In the instant case, not all three criteria were satisfied. And for that reason, as

   further explained below, Mr. Crespo’s accountability for the conduct of others under subsection

   (a)(1)(B) is significantly less than attributed to him in the PSR’s ¶ 34.

           To begin, the “within the scope” criterion of § 1B.3(a)(1)(B)(i) has not been met. This

   failure, the failure to meet a single criterion, is sufficient to discount the PSR’s ¶ 34 conclusion

   that put Mr. Crespo at Base Offense Level 24. More to the point, the scope of the criminal activity

   Mr. Crespo agreed to jointly undertake was not as extensive as determined by the PSR. The PSR

   mistakenly held Mr. Crespo accountable for Oxycodone pills prescribed to all six patients

   mentioned in the Indictment. That mistaken conclusion may be explained in that, as acknowledge

   by Probation, the Government did not share with Probation “knowledge that any part of the

   conspiracy was unknown or not reasonably known by the defendant.” See Exhibit “1” (Probation

   admits not receiving such information). But the evidence at the trial revealed that Mr. Crespo did

   not have knowledge that Mr. Diaz was pill trafficking with patients A.A., P.R., B.R., M.C., and

   L.A. In fact, no evidence was adduced at the trial that Mr. Crespo even knew four of the five

   patients. Mr. Diaz did not testify that Mr. Crespo even knew patients A.A., P.R., B.R, or MC. Mr.

   Diaz testified Mr. Crespo knew patient L.A. because Crespo, while employed as a Hialeah police

   officer, had helped L.A. to protect her mentally challenged son from neighborhood gang members.

   But Diaz did not testify that Mr. Crespo knew of or facilitated in his pill trafficking with L.A., or

   with any of the other four patients. Indeed, Mr. Diaz’s testimony at trial clearly established that

   Mr. Crespo did not receive even a single penny as part of a division of profits from trafficking in

   Oxycodone. It is important to bear in mind, while analyzing this issue, that the jury found Mr.

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   Crespo not guilty of Count 1, conspiracy to distribute and possess with intent to distribute a

   controlled substance. So that Mr. Crespo’s jointly undertaken criminal activity was limited in

   scope, and it did not include Mr. Crespo engaging in jointly undertaken criminal activity to obstruct

   on behalf of Mr. Diaz or these five patients.

               There is only one patient, out of the six mentioned in the Indictment, that perhaps could

   support an argument that Mr. Crespo should be held accountable for some (but not all) of the pills

   prescribed to her.2 That patient is M.P. This is the patient discussed between Mr. Diaz and Mr.

   Crespo in one of the telephone calls introduced as evidence at trial. As discussed earlier, all the

   Oxycodone pills prescribed to M.P. amount to 87.03 grams. Converting the entire 87.03 grams to

   converted drug weight under the Sentencing Guidelines Drug Conversion Tables (87.03 x 6700)

   yields 583 kilograms of converted drug weight. Under § 2D1.1(c), the Drug Quantity Table, this

   amount of converted drug weight yields a Level 26 (at least 400kg but less than 700 kg). However,

   per 2X3.1(a)(1) a 6-level subtraction must take place, which brings the Base Offense Level to

   Level 20. Mr. Crespo would then receive a 2-level increase for abuse of a position of trust or use

   of a special skill. But he would receive a 2-level reduction because he meets the criteria for the

   newly enacted § 4C1.1. Accordingly, (using Probation’s pill numbers) his Total Offense Level

   would be 20, with a guidelines range of 33-41 months. However, that is not the end of the analysis.

               We know that Application Note § 1B.3 cmt. 3(B), provides that Mr. Crespo cannot be held

   accountable for “conduct of members of a conspiracy prior to [him] joining the conspiracy, even

   if [he] knows of that conduct.” (Emphasis added). We also know that Mr. Diaz testified at trial

   that he told Mr. Crespo about his Oxycodone trafficking approximately a month after he moved


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     This argument is not meant to be, nor should be taken or considered as, a waiver of Mr. Crespo’s position
   that the evidence presented at trial was insufficient as a matter of law to find him guilty of those counts that
   he was found guilty.
                                                                8
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   into Crespo’s garage/efficiency. That would mean that he told Mr. Crespo that he was trafficking

   in Oxycodone on or about the beginning of February 2020. Therefore, this is the point that Mr.

   Crespo arguably joined the conspiracy, and he could be held accountable for the Oxycodone

   prescribed to M.P. after that date. According to the PDMP introduced into evidence at trial, M.P.

   received six prescriptions from February 6 to July 16, 2020, for a total of 540 Oxycodone pills.

   See GX 58-C. Under the Guidelines 540 Oxycodone pills translate to converted drug weight as

   follows: 540 x 30 = 16,200 mg. Then the 16,200 is divided by 1,000 to convert it to grams, which

   in this case yields 16.2 grams. In conformity with the Drug Conversion Tables the 16.2 is

   multiplied by 6700, which equals 108,540 grams. That is divided by 1,000 to obtain kilograms,

   which in this case comes out to 108.5 kilograms of converted drug weight. And under the Drug

   Quantity Table this amount of converted drug weight yields a Level 24. However, per 2X3.1(a)(1)

   a six-level subtraction must be applied. That means the Total Base Offense Level here is Level 18

   (24-6=18). To this Total Base Offense Level of 18, we must add a 2-level increase for abuse of a

   position of trust or use of a special skill. But must also apply a 2-level reduction for the newly

   enacted § 4C1.1. All this yields a Total Offense Level of 18. This is the correct level in this case,

   which has a range of 27-33 months.

           In conclusion, the Total Offense Level in Mr. Crespo’s case should be significantly lower

   than the Level 26 in the PSR. Indeed, we know that the Total Offense Level must go down to at

   least Level 18.

           ¶ 78 This section of the PSR covers assets and liabilities. The liabilities category must be

   amended. It must include an IRS lien with accrued interest and accrued failure to pay penalty in

   the amount of $121,203.53, that is presently due and owing to the Internal Revenue Service. For



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   the convenience of Probation, a copy of the lien and the calculations of interest and penalty are

   incorporated as Exhibit “2.”

            ¶ 87 We object because the correct Total Offense Level is Level 18, and not Level 26 as it

   appears in the initial PSR.

                                                         Respectfully submitted,

                                                         s/Jose M. Quinon
                                                         Jose M. Quinon

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                                          CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true copy of the foregoing Defendant Crespo’s Objections

   to the Presentence Report was filed this December 4, 2023, via PACER, which will serve copy on

   all parties in this case.

                                                         s/Jose M. Quinon
                                                         Jose M. Quinon




                                                            10
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             EXHIBIT 1
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Jose Quiñon

From:                            Stephanie Galvez <stephanie_galvez@flsp.uscourts.gov>
Sent:                            Monday, November 13, 2023 4:40 PM
To:                              Jose Quiñon
Cc:                              Sean Thomas McLaughlin (sean.mclaughlin@usdoj.gov)
Subject:                         RE: United States v. Alberico Ahias Crespo, Case No. 21-20005-GAYLES


Hi Mr. Quinon,
The defendant is being held responsible for the conspiracy with his co-defendants, which the government previously
iden ﬁed as the “Gonzelez Era.” Below is what the government previously provided as oﬀense materials for this
conspiracy:

M.P.
Gonzalez:
Oxycodone 30mg:       13.5 Grams
Carpman:
Oxycodone 30mg:       73.53 Grams

A.A.
Gonzalez:
Oxycodone 30mg        69.9 Grams
Carpman:
Oxycodone 30mg        94.5 Grams

P.R.
Gonzalez:
Oxycodone 30mg:       68.4 Grams
Carpman:
Oxycodone 30mg:        94.5 Grams

B.R.
Gonzalez             0 Grams (No prescrip ons from Gonzalez)
Carpman
Oxycodone 30mg:       32.46 Grams

M.C.
Gonzalez:
Oxycodone 30mg:       58.5 Grams
Carpman:
Oxycodone 30mg:       69.3 Grams

L.A.
Gonzalez:
Oxycodone 30mg:       58.8 Grams
Carpman:
Oxycodone 30mg:       75.6 Grams


Adding up everyone and using the drug conversa on table under 2D1.1(D) for Oxycodone (actual), you get the following:

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Gonzalez era (2016-2018) = 269.1 grams x 6700 grams = 1,802.97 kg of converted drug weight

1,802.97 kg of converted drug weight is usually a base oﬀense level 30. Per 2X3.1(a)(1), 6 levels lower is 24.

The underlying oﬀense in this case is the conspiracy to distribute and possess with intent to distribute a controlled
substance, which involved 1,802.97 kg of a converted drug weight as noted above. To my knowledge, Crespo did not
enter the conspiracy in this case at a later me than his co-defendants. Also, See 2X3.1 applica on note 1 for the
deﬁni on of underlying oﬀense, speciﬁcally its redirec on to applica on note 9 of 1B1.3, which has a more broad
descrip on. I have no knowledge that any part of the conspiracy was unknown or not reasonably known by the
defendant.

Hope this helps

Stephanie Galvez
U.S. Probation Officer
Wilkie D. Ferguson. Jr. U.S. Courthouse
400 North Miami Avenue, 9th Floor South
Miami, FL 33128
(305) 523-5383

From: Jose Quiñon <jquinon@quinonlaw.com>
Sent: Monday, November 13, 2023 3:23 PM
To: Stephanie Galvez <stephanie_galvez@flsp.uscourts.gov>
Cc: Sean Thomas McLaughlin (sean.mclaughlin@usdoj.gov) <sean.mclaughlin@usdoj.gov>
Subject: United States v. Alberico Ahias Crespo, Case No. 21-20005-GAYLES

CAUTION - EXTERNAL:



Ms. Galvez --

Good afternoon.

I represent Alberico Ahias Crespo. You prepared his initial Presentence Report (“PSR”)
and his sentencing hearing is scheduled to take place on December 14, 2023, before
Judge Darrin P. Gayles. The PSR objections are due December 4, and I am looking
into possible objections to the initial draft you prepared.

Converted Drug Weight

I write to seek clarity regarding an important point. Specifically, I need clarification
regarding the Base Offense Level, at ¶ 34 (at p. 14), wherein you concluded that Mr.
Crespo “is responsible for at least 1,802 kilograms of converted drug weight.” You
included int the PSR the “converted drug weight” without providing an analysis or
breakdown of its integral parts – i.e., the patients and number of Oxycodone pills
attributed to each patient – utilized to arrive at the 1,802 kilograms. It is important that
you do that so we can understand (and if appropriate, object to) the correctness of the

                                                             2
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conclusion. Otherwise, we are left with a conclusion that we cannot understand, test, or
accept.

USSG § 1b1.3(a)(1) (scope of jointly undertaken criminal activity

In addition to clarification of how you arrived at the converted drug weight, I need
clarification regarding how you applied USSG § 1B1.3(a)(1) to determine the Base
Offense Level. Because this case involves a Chapter Two cross reference and “jointly
undertaken criminal activity,” USSG § 1B1.3(a)(1) must be used to determine the Base
Offense Level. See § 1B1.3(a)(iii). Mr. Crespo can be responsible only for

         (A)all acts and omissions committed, aided, abetted, counseled,
            commanded, induced, procured, or willfully caused by the
            defendant; and

         (B)in the case of a jointly undertaken criminal activity (i.e., a
            conspiracy), all acts and omissions of others that were –
            (i)   within the scope of the jointly undertaken criminal
            activity;
            (ii) in furtherance of that criminal activity; and
            (iii) reasonably foreseeable in connection with that criminal
                  activity;

that occurred during the commission of the offense of conviction, in preparation for that
offense, or in the course of attempting to avoid detection or responsibility for that
offense.

USSG § 1B1.3(a)(1) (emphasis added). And “when the conduct of others does not
meet any one of the criteria set forth in subdivisions (i) through (iii), the conduct is not
relevant conduct under this provision.” Id., cmt. n. 3(A) (emphasis added). In
determining the Base Offense Level, “the scope of the ‘jointly undertaken criminal
activity’ is not necessarily the same as the scope of the entire conspiracy, and hence
relevant conduct is not necessarily the same for every participant.” Id., cmt. n. 3(B).
Moreover, “Acts of others that were not within the scope of the defendant’s agreement,
even if those acts were known or reasonably foreseeable to the defendant, are not
relevant conduct under subsection (a)(1)(;B).” Id. (emphasis added).

It's respectfully submitted that the scope of Mr. Crespo’s jointly undertaken criminal
activity here is less than the scope of the entire conspiracy, and that relevant conduct
for purposes of Mr. Crespo’s Base Offense Level is of lesser scope than that
applicable to co-defendants Jorge Diaz Gutierrez and Anais Lorenzo. But because I
cannot tell what acts and omissions of others you are attributing to Mr. Crespo to arrive
at his Base Offense Level, I ask you to please explain the components you took into
consideration and how you applied them. Your explanation would save us time and
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resources and avoid having to lodge an objection and possibly engage in an
evidentiary hearing at sentencing. I hope you’ll help us out in this regard.

We need to continue the discussion to narrow the issues

I am copying AUSA Sean McLaughlin because I have discussed some of these issues
with him and believe that he also would welcome an open discussion so we can all
contribute to narrow or eliminate issues prior to the sentencing hearing.

Lastly, for your benefit, I am attaching three charts (GX 51-D, GX 56-D, and GX 58-D)
prepared by the Government and introduced by the Government as evidence at trial to
prove the total number of Oxycodone pills dispensed during the conspiracy to Jorge
Diaz Gutierrez and his recruited “patients.”

If after reading this email, you desire additional information or documents from me,
please let me know and I will assist you.

Respectfully,
Jose M. Quiñon
Jose M. Quiñon, Esq.

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                   An official website of the United States Government
                   Here's how you know



                                                                                                        MENU


            Account Home / Account Balance


Account Balance
            Total Amount Owed

            View your account information in the Details By Year section

            The information provided is based on our current data.

            The numbers here may not reflect:

                   Recently filed or processing returns

                   Pending payments or adjustments

                   Information on your business account

                   Installment agreement fees


                 MAKE A PAYMENT


            Frequently Asked Questions About Balances


            Details By Year
                Tax Year                                                                      You Owe


                       2019                                                                     $0.00

https://sa.www4.irs.gov/ola/account_balance                                                                      1/2
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                      2020                                                             $121,203.53


                Income Tax

                Type                                                                         You Owe

                Assessed Total                                                             $90,328.66

                Accrued Failure to Pay Penalty                                             $19,605.69

                Accrued Interest                                                           $11,269.18

                Income Tax Total                                                         $121,203.53



                       2021                                                                     $0.00


                      2022                                                                  INFO


                      2023                                                                  INFO




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